      Case 3:20-cv-03496-G Document 1 Filed 11/25/20                 Page 1 of 21 PageID 1


                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


 SEAN McPHERSON,                                  §
                                                  §
                Plaintiff,                        §
                                                  §
 v.                                               §        Civil Action No. 3:20‐cv‐3496
                                                  §
 EQUIFAX INFORMATION                              §        With Jury Demand Endorsed
 SERVICES, LLC, EXPERIAN                          §
 INFORMATION SOLUTIONS, INC.,                     §
 TRANSUNION LLC, and                              §
 NATIONSTAR MORTGAGE, LLC,                        §
            Defendants.                           §


                                        COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

        Plaintiff, Anthony Borrelli (“Plaintiff”), by and through counsel, for his Complaint against

Defendants, Equifax Information Services LLC, Experian Information Solutions, Inc., Trans Union

LLC, and Nationstar Mortgage, LLC, jointly, severally, and in solido, states as follows:

                                     I. INTRODUCTION

        1.     Three of the Defendants are consumer reporting agencies (“CRAs”) as defined by 15

U.S.C. § 1681a(f), and one Defendant, Nationstar Mortgage, LLC, is a furnisher of consumer

information. All Defendants have violated 15 U.S.C. § 1681 et seq., known as the Fair Credit

Reporting Act (the “FCRA”). Plaintiff seeks to recover from Defendants actual, statutory, and

punitive damages, injunctive relief, legal fees, and expenses.



                                            Page 1 of 21
    Case 3:20-cv-03496-G Document 1 Filed 11/25/20                 Page 2 of 21 PageID 2


                                         II. PARTIES

       2.      Plaintiff, Sean McPherson, is a natural person residing in Lee County, Florida. He is

a “consumer,” as defined by the FCRA, 15 U.S.C. § 1681a(c) and a victim of repeated false credit

reporting.

       Made Defendants herein are:

       3.      Upon information and belief, Defendant Equifax Information Services LLC, which

may also hereinafter be referred to as “Equifax,” “Defendant,” “Defendants,” “CRA,” “CRA

Defendant,” or “CRA Defendants” is a Georgia limited liability company that does substantial

business in this judicial district and may be served by delivering a summons to its headquarters,

1550 Peachtree Street, Northwest, Atlanta, Georgia 30309. Equifax is a nationwide consumer

reporting agency (“CRA”) as defined by 15 U.S.C. § 1681a(f). Equifax regularly engages in the

business of assembling, evaluating, and disbursing information concerning consumers for the

purposes of furnishing “consumer reports” as defined by 15 U.S.C. § 1681a(f) to third parties.

Equifax disburses such consumer reports to third parties of contract for monetary compensation.

       4.      Upon information and belief, Defendant Experian Information Solutions, Inc., which

may also hereinafter be referred to as “Experian”, “Defendant,” “Defendants,” “CRA,” or “CRA

Defendant,” or “CRA Defendants,” is an Ohio corporation that does business in this judicial district

and may be served by delivering a summons to its headquarters, 475 Anton Blvd., Costa Mesa,

California 92626. Experian is a nationwide CRA as defined by 15 U.S.C. § 1681a(f). Experian

regularly engages in the business of assembling, evaluating, and disbursing information concerning

consumers for the purposes of furnishing “consumer reports” as defined by 15 U.S.C. § 1681a(f) to


                                           Page 2 of 21
    Case 3:20-cv-03496-G Document 1 Filed 11/25/20                   Page 3 of 21 PageID 3


third parties. Experian disburses such consumer reports to third parties of contract for monetary

compensation.

       5.       Upon information and belief, Defendant Trans Union LLC, which may also

hereinafter be referred to as “Trans Union”, “Defendant,” “Defendants,” “CRA,” “CRA Defendant,”

or “CRA Defendants” is an Illinois limited liability company that does business in this judicial

district and may be served by delivering a summons to its headquarters, 555 West Adams Street,

Chicago, Illinois 60681. Trans Union is a nationwide CRA as defined by 15 U.S.C. § 1681a(f). Trans

Union regularly engages in the business of assembling, evaluating, and disbursing information

concerning consumers for the purposes of furnishing “consumer reports” as defined by 15 U.S.C. §

1681a(f) to third parties. Trans Union disburses such consumer reports to third parties of contract for

monetary compensation.

       6.       Upon information and belief, Defendant Nationstar Mortgage, LLC or Mr. Cooper,

which may also hereinafter be referred to as “Nationstar,” “Defendant,” “Defendants,” “Furnisher

Defendant,” or “Furnisher Defendants,” is a Delaware limited liability company that does

substantial business in this judicial district and may be served by delivering a summons to its Legal

Department at its headquarters, 8950 Cypress Waters Blvd., Coppell, Texas 75019. Nationstar is a

“person,” as defined by the FCRA, 15 U.S.C. § 1681a(b), and a furnisher of consumer credit

information to consumer reporting agencies.

       7.       As used herein, “consumer reporting agency,” or “CRA,” means any person that, for

monetary fees, dues, or on a cooperative nonprofit basis, regularly engages in whole or in part in the

practice of assembling or evaluating consumer credit information or other information on consumers


                                             Page 3 of 21
     Case 3:20-cv-03496-G Document 1 Filed 11/25/20                    Page 4 of 21 PageID 4


for the purpose of furnishing consumer reports (commonly referred to as “credit reports”) to third

parties, and which uses any means or facility of interstate commerce for the purpose of preparing or

furnishing consumer reports and is an entity in the business of collecting, maintaining and

disseminating information regarding the credit-worthiness of individuals. CRAs specifically include,

but are not limited to, Equifax, Experian, and TransUnion.

                              III. JURISDICTION AND VENUE

        8.      This Honorable Court has jurisdiction in this case which arises under federal law—

28 U.S.C. § 1331 and 15 U.S.C. § 1681(p). Further, the amount in controversy exceeds $75,000.00,

exclusive of costs and interest and the parties to these proceedings are citizens of different states.

See 28 U.S.C. § 1332. Plaintiff also asserts causes of action under state law which may be brought

within the supplemental jurisdiction of this Court and Plaintiff respectfully requests that this

Honorable Court exercise supplemental jurisdiction over said claims pursuant to 28 U.S.C. § 1367.

        9.      Venue is proper in this District because the CRA Defendants and Nationstar transact

business in this District. Nationstar is headquartered in this judicial district, a substantial part of the

conduct complained of occurred in this district, and various actions made basis of Plaintiffs’ claims

against Defendants occurred in the Northern District of Texas as further described. 28 U.S.C. §

1391.

        10.     Venue is further proper in this District because the CRA Defendants entered into

agreements with Nationstar in this judicial district to receive credit reporting data concerning

Plaintiff. Any and all requests to investigate Plaintiff’s dispute sent from the CRA Defendants as part

of their reinvestigation was submitted to Nationstar’s headquarters and investigated by the furnisher


                                              Page 4 of 21
    Case 3:20-cv-03496-G Document 1 Filed 11/25/20                   Page 5 of 21 PageID 5


Nationstar using Nationstar’s resources located at or closely connected to this judicial district.

Nationstar managed Plaintiff’s mortgage from this judicial district including communicating

amounts owed and conducting numerous communications via phone and letter.

                              IV. FACTUAL ALLEGATIONS

       11.     In November 2002, Plaintiff secured a mortgage for his home at 19126 Birch Road,

Fort Meyers, Florida with Seterus, Inc. (hereafter the “mortgage account”).

       12.     The mortgage account was assigned or otherwise transferred to Defendant Nationstar

in March 2019 (hereafter the “Nationstar mortgage”).

       13.     For the past four years, Plaintiff has made timely monthly payments on the mortgage

account.

       14.     In June 2020, Plaintiff requested and received a copy of his credit report assembled,

evaluated, and disbursed by Equifax and noticed that his Nationstar mortgage account was reporting

inaccurately. Plaintiff’s Equifax Credit Report is attached as Exhibit A.

       15.     Plaintiff noticed that within his Equifax credit report, the Nationstar mortgage

tradeline was reporting 30-59 days late in the month of July 2019.

       16.     This was inaccurate because Plaintiff’s July 2019 payment was timely submitted.

See Exhibit B, Pl’s Payment History.

       17.     In June 2020, Plaintiff also requested and received a copy of his credit report

assembled, evaluated, and disbursed by Experian and noticed that his Nationstar mortgage account

was reporting inaccurately. Plaintiff’s Experian Credit Report is attached as Exhibit C.

       18.     Plaintiff noticed that within his Experian credit report, the Nationstar mortgage

tradeline was reporting 30 days late in the month of July 2019.

                                            Page 5 of 21
    Case 3:20-cv-03496-G Document 1 Filed 11/25/20                   Page 6 of 21 PageID 6


       19.     This was inaccurate because Plaintiff’s July 2019 payment was timely submitted.

See Exhibit B, Pl’s Payment History.

       20.     In June 2020, Plaintiff also requested and received a copy of his credit report

assembled, evaluated, and disbursed by TransUnion and noticed that his Nationstar mortgage

account was reporting inaccurately. Plaintiff’s TransUnion Credit Report is attached as Exhibit D.

       21.     Plaintiff noticed that within his TransUnion credit report, the Nationstar mortgage

tradeline was reporting 30-59 days late in the month of July 2019.

       22.     This was inaccurate because Plaintiff’s July 2019 payment was timely submitted.

See Exhibit B, Pl’s Payment History.

       23.     In June 2020, Plaintiff also requested and received a copy of his credit report

assembled, evaluated, and disbursed by Innovis and noticed that his Nationstar mortgage account

was reporting inaccurately.

       24.     Plaintiff noticed that within his Innovis credit report, the Nationstar mortgage

tradeline was reporting 30 days late in the month of July 2019.

       25.     This was inaccurate because Plaintiff’s July 2019 payment was timely submitted.

See Exhibit B, Pl’s Payment History.

       26.     On or about July 15, 2020, Plaintiff disputed the reporting of the Nationstar mortgage

account with Equifax, Experian, TransUnion (the “CRA Defendants”) and Innovis directly. Plaintiff

requested that under the FCRA, the CRA Defendants and Innovis conduct a reasonable investigation

and/or remedy the inaccuracies on Plaintiff’s credit reports concerning the Nationstar mortgage

account.

       27.     Attached to his dispute letters, Plaintiff included a copy of his payment history.

                                            Page 6 of 21
     Case 3:20-cv-03496-G Document 1 Filed 11/25/20                 Page 7 of 21 PageID 7


Copies of the dispute letters to Equifax, Experian, and TransUnion are attached hereto as Exhibits

E, F, & G, respectively.

       28.      Equifax responded to Plaintiff’s July 15, 2020 dispute letter on August 5, 2020.

Equifax’s response is attached hereto as Exhibit H. In its response letter, Equifax informed Plaintiff

that his credit report had been updated but continued to report a 30 day late payment for July 2019

on the Nationstar mortgage tradeline.

       29.      Equifax’s response was inappropriate and inaccurate because Plaintiff made a timely

payment on the Nationstar mortgage in July 2019 and provided proof of the same to Experian.

       30.      Equifax’s response was not the result of a reasonable investigation into Plaintiff’s

dispute and Equifax failed to remedy the inaccuracies within the Nationstar tradeline.

       31.      Equifax chose to “verify” false information from an unreliable source, failed to

correct the inaccurate information, and continued to publish the inaccurate information regarding

Plaintiff’s Nationstar account.

       32.      Upon the Plaintiff’s request to Equifax for verification and addition regarding the

Nationstar mortgage account, and in accordance with Equifax’s standard procedures, Equifax did

not evaluate or consider any of Plaintiff’s information, claims or evidence and did not make any

attempt to substantially or reasonably verify the Nationstar tradeline.

       33.      In the alternative, Equifax failed to contact Nationstar, therefore, failed to perform

any investigation at all.

       34.      In the alternative to the allegation that Equifax failed to contact Nationstar, it is

alleged that Equifax did forward some notice of the dispute to Nationstar, and Nationstar failed to

conduct a lawful investigation.

                                             Page 7 of 21
     Case 3:20-cv-03496-G Document 1 Filed 11/25/20                  Page 8 of 21 PageID 8


       35.      Experian responded to Plaintiff’s July 15, 2020 dispute on or about August 4, 2020.

Experian’s response is attached hereto as Exhibit I. In its response letter, Experian informed

Plaintiff that his credit report had been updated but continued to report a 30 day late payment for

July 2019 on the Nationstar mortgage tradeline.

       36.      Experian’s response was inappropriate and inaccurate because Plaintiff made a

timely payment on the Nationstar mortgage in July 2019 and provided proof of the same to Experian.

       37.      Experian chose to “verify” false information from an unreliable source, failed to

correct the inaccurate information and continued to publish the inaccurate information regarding

Plaintiff’s Nationstar account.

       38.      Upon the Plaintiff’s request to Experian for verification and addition regarding the

Nationstar mortgage account, and in accordance with Experian’s standard procedures, Experian did

not evaluate or consider any of Plaintiff’s information, claims or evidence and did not make any

attempt to substantially or reasonably verify the Nationstar tradeline.

       39.      In the alternative, Experian failed to contact Nationstar, therefore, failed to perform

any investigation at all.

       40.      In the alternative to the allegation that Experian failed to contact Nationstar, it is

alleged that Experian did forward some notice of the dispute to Nationstar, and Nationstar failed to

conduct a lawful investigation.

       41.      TransUnion responded to Plaintiff’s July 15, 2020 dispute on or about August 5,

2020. TransUnion’s response is attached hereto as Exhibit J. In its response letter, TransUnion

failed to mark his July 2019 payment as timely.

       42.      TransUnion’s response was inappropriate and inaccurate because Plaintiff made a

                                             Page 8 of 21
    Case 3:20-cv-03496-G Document 1 Filed 11/25/20                  Page 9 of 21 PageID 9


timely payment on the Nationstar mortgage in July 2019 and provided proof of the same to

TransUnion.

       43.     TransUnion failed to correct the inaccurate information, and inappropriately deleted

rather than modify Plaintiff’s Nationstar mortgage accounts.

       44.     TransUnion’s response was not the result of a reasonable investigation into

Plaintiff’s dispute and failed to remedy the inaccuracies within the Nationstar tradeline.

       45.     TransUnion chose to “verify” false information from an unreliable source, failed to

correct the inaccurate information, and continued to publish the inaccurate information regarding

Plaintiff’s Nationstar account.

       46.     Upon the Plaintiff’s request to TransUnion for verification and addition regarding

the Nationstar mortgage account, and in accordance with Equifax’s standard procedures,

TransUnion did not evaluate or consider any of Plaintiff’s information, claims or evidence and did

not make any attempt to substantially or reasonably verify the Nationstar tradeline.

       47.     In the alternative, TransUnion failed to contact Nationstar, therefore, failed to

perform any investigation at all.

       48.     In the alternative to the allegation that TransUnion failed to contact Nationstar, it is

alleged that TransUnion did forward some notice of the dispute to Nationstar, and Nationstar failed

to conduct a lawful investigation.

       49.     Innovis responded to Plaintiff’s July 15, 2020 dispute letters on August 11, 2020.

       50.     In response to Plaintiff’s dispute letter, Innovis appropriately modified Plaintiff’s

Nationstar mortgage tradeline to reflect a timely payment in July 2019.

       51.     After the CRA Defendants notified Nationstar of the disputed tradeline involving the

                                            Page 9 of 21
   Case 3:20-cv-03496-G Document 1 Filed 11/25/20                  Page 10 of 21 PageID 10


Nationstar mortgage account, Nationstar failed to correct any of the information. Nationstar failed

to conduct a lawful reinvestigation and inappropriately ordered the CRA Defendants to delete

Plaintiff’s mortgage account tradeline.

       52.     On or about July 15, 2020, Plaintiff disputed the reporting of the Nationstar mortgage

account directly with Nationstar. Plaintiff’s dispute letter to Nationstar is attached as Exhibit K.

Plaintiff requested that Defendant Nationstar conduct a reasonable investigation and/or remedy the

inaccuracies on Plaintiff’s credit reports concerning the Nationstar mortgage account.

       53.     Nationstar responded to Plaintiff by letters dated July 27, 2020 and August 17, 2020.

Nationstar’s July 27, 2020 letter informed Plaintiff that his inquiry would be responded to within

30 days. Nationstar’s August 17, 2020 letter informed Plaintiff that research related to his inquiry

would exceed 30 business days.

       54.     Nationstar’s lack of substantive response is inappropriate. Plaintiff submitted a clear

dispute concerning his July 2019 payment timeliness and provided all identifying information

necessary for Nationstar to locate his account. Further, Plaintiff attached a copy of his payment

history which unambiguously shows a timely July 2019 mortgage payment.

       55.     Accordingly, Nationstar failed to conduct a lawful reinvestigation and/or

inappropriately ordered the CRA Defendants to continue reporting Plaintiff’s mortgage account

tradeline at least 30 days late in July 2019.

                                 V. GROUNDS FOR RELIEF

                       COUNT I – EQUIFAX’S VIOLATION OF THE FCRA
                                    (15 U.S.C. § 1681e(b))

       56.     The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

       57.     Equifax violated 15 U.S.C. § 168le(b) by failing to establish or follow reasonable
                                                Page 10 of 21
   Case 3:20-cv-03496-G Document 1 Filed 11/25/20                   Page 11 of 21 PageID 11


procedures to assure maximum possible accuracy in the preparation of the credit reports and credit

files it published and maintained concerning the Plaintiff.

        58.    The FCRA mandates that “[w]henever a consumer reporting agency prepares a

consumer report it shall follow reasonable procedures to assure maximum possible accuracy of the

information concerning the individual about whom the report relates.” 15 U.S.C. § 168le(b)

(emphasis added).

        59.    Equifax knew or should have known Plaintiff’s account status and payment history

were inaccurate, but Equifax continued to prepare a patently false consumer report concerning

Plaintiff.

        60.    Despite actual and implied knowledge that Plaintiff’s credit report was and is not

accurate, Equifax readily provided false reports to one or more third parties, thereby misrepresenting

Plaintiff, and ultimately Plaintiff’s creditworthiness.

        61.    After Equifax knew or should have known Plaintiff’s payment history was

inaccurate, it failed to make the corrections.

        62.    As a result of Equifax’s conduct, action, and inaction, the Plaintiff suffered damages,

including, but not limited to, denial in attempts to refinance, loss in ability to finance goods, loss of

credit, loss of the ability to purchase and benefit from a credit, and suffering the mental and

emotional pain, anguish, humiliation, and embarrassment of credit denials.

        63.    Equifax’s conduct, action, and inaction, were willful, rendering it liable to Plaintiff

for punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C. § 168ln. In

the alternative, such conduct, action, and inaction, were negligent, entitling the Plaintiff to recover

under 15 U.S.C. § 1681o.

                                             Page 11 of 21
   Case 3:20-cv-03496-G Document 1 Filed 11/25/20                   Page 12 of 21 PageID 12


       64.     The Plaintiff is entitled to recover costs and attorney’s fees from Equifax in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or 1681o.

                      COUNT II – EQUIFAX’S VIOLATION OF THE FCRA
                                     (15 U.S.C. §1681i)

       65.     The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

       66.     Equifax violated 1681i by failing to update inaccurate information in the Plaintiff’s

credit file after receiving actual notice of such inaccuracies, failing to conduct a lawful

reinvestigation, failing to forward all relevant information to furnisher(s), failing to maintain

reasonable procedures with which to filter and verify disputed information in the Plaintiff’s credit

file, and relying upon verification from a source it has reason to know is unreliable.

       67.     As a result of Equifax’s conduct, action, and inaction, the Plaintiff suffered damages,

including, but not limited to, denial in attempts to refinance, loss in ability to finance goods, loss of

credit, loss of the ability to purchase and benefit from a credit, and suffering the mental and

emotional pain, anguish, humiliation, and embarrassment of credit denials.

       68.     Equifax's conduct, action, and inaction, were willful, rendering it liable for actual or

statutory damages, and punitive damages in an amount to be determined by the Court pursuant to

15 U.S.C. § 1681n. In the alternative, such conduct, action, and inaction were negligent entitling the

Plaintiff to recover actual damages under 15 U.S.C. § 1681o.

       69.     The Plaintiff is entitled to recover costs and attorney's fees from Equifax in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or 1681o.




                     COUNT III – EXPERIAN’S VIOLATION OF THE FCRA
                                             Page 12 of 21
   Case 3:20-cv-03496-G Document 1 Filed 11/25/20                  Page 13 of 21 PageID 13


                                        (15 U.S.C. § 1681e(b))

       70.     The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

       71.     Experian violated 15 U.S.C. § 168le(b) by failing to establish or follow reasonable

procedures to assure maximum possible accuracy in the preparation of the credit reports and credit

files it published and maintained concerning the Plaintiff.

       72.     The FCRA mandates that “[w]henever a consumer reporting agency prepares a

consumer report it shall follow reasonable procedures to assure maximum possible accuracy of the

information concerning the individual about whom the report relates.” 15 U.S.C. § 168le(b)

(emphasis added).

       73.     Experian knew or should have known of Plaintiff’s account status and payment

history, but Experian continued to prepare a patently false consumer report concerning Plaintiff.

       74.     Despite actual and implied knowledge that Plaintiff’s credit report was and is not

accurate, Experian readily provided false reports to one or more third parties, thereby

misrepresenting Plaintiff, and ultimately Plaintiff’s creditworthiness.

       75.     After Experian knew or should have known Plaintiff’s payment history was

inaccurate, it failed to make the corrections.

       76.     As a result of Experian’s conduct, action, and inaction, the Plaintiff suffered

damages, including, but not limited to, denial in attempts to refinance, loss in ability to finance

goods, loss of credit, loss of the ability to purchase and benefit from a credit, and suffering the

mental and emotional pain, anguish, humiliation, and embarrassment of credit denials.

       77.     Experian’s conduct, action, and inaction, were willful, rendering it liable to Plaintiff

for punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C. § 168ln. In

                                            Page 13 of 21
   Case 3:20-cv-03496-G Document 1 Filed 11/25/20                   Page 14 of 21 PageID 14


the alternative, such conduct, action, and inaction, were negligent, entitling the Plaintiff to recover

under 15 U.S.C. § 1681o.

       78.     The Plaintiff is entitled to recover costs and attorney’s fees from Experian in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or 1681o.

                      COUNT IV – EXPERIAN’S VIOLATION OF THE FCRA
                                     (15 U.S.C. §1681i)

       79.     The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

       80.     Experian violated 15 U.S.C. § 168li on multiple occasions by failing to update or

delete inaccurate information in the Plaintiff’s credit file after receiving actual notice of such

inaccuracies, failing to conduct a lawful reinvestigation, failing to forward all relevant information

to the furnisher(s), failing to maintain reasonable procedures with which to filter and verify disputed

information in the Plaintiff’s credit file, and relying upon verification from a source it has reason to

know is unreliable.

       81.     As a result of Experian’s conduct, action, and inaction, the Plaintiff suffered

damages, including, but not limited to, denial in attempts to refinance, loss in ability to finance

goods, loss of credit, loss of the ability to purchase and benefit from a credit, and suffering the

mental and emotional pain, anguish, humiliation, and embarrassment of credit denials.

       82.     Experian's conduct, action, and inaction, were willful, rendering it liable for actual

or statutory damages, and punitive damages in an amount to be determined by the Court pursuant

to 15 U.S.C. § 1681n. In the alternative, such conduct, action, and inaction were negligent entitling

the Plaintiff to recover actual damages under 15 U.S.C. § 1681o.

       83.     The Plaintiff is entitled to recover costs and attorney's fees from Experian in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or 1681o.
                                            Page 14 of 21
   Case 3:20-cv-03496-G Document 1 Filed 11/25/20                  Page 15 of 21 PageID 15


                    COUNT V – TRANS UNION’S VIOLATION OF THE FCRA
                                   (15 U.S.C. §1681e(b))

       84.     The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

       85.     Trans Union violated 15 U.S.C. § 1681e(b) by failing to establish or follow

reasonable procedures to assure maximum possible accuracy in the preparation of the credit reports

and credit files it published and maintained concerning the Plaintiff.

       86.     The FCRA mandates that “[w]henever a consumer reporting agency prepares a

consumer report it shall follow reasonable procedures to assure maximum possible accuracy of the

information concerning the individual about whom the report relates.” 15 U.S.C. § 168le(b)

(emphasis added).

       87.     Trans Union knew or should have known of Plaintiff’s account status and payment

history, but Trans Union continued to prepare a patently false consumer report concerning Plaintiff.

       88.     Despite actual and implied knowledge that Plaintiff’s credit report was and is not

accurate, Trans Union readily provided false reports to one or more third parties, thereby

misrepresenting Plaintiff, and ultimately Plaintiff’s creditworthiness.

       89.     After Trans Union knew or should have known Plaintiff’s payment history was

inaccurate, it failed to make the corrections.

       90.     As a result of Trans Union’s conduct, action, and inaction, the Plaintiff suffered

damages, including, but not limited to, denial in attempts to refinance, loss in ability to finance

goods, loss of credit, loss of the ability to purchase and benefit from a credit, and suffering the

mental and emotional pain, anguish, humiliation, and embarrassment of credit denials.

       91.     Trans Union’s conduct, action, and inaction, were willful, rendering it liable for

punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C. § 168ln. In the
                                            Page 15 of 21
   Case 3:20-cv-03496-G Document 1 Filed 11/25/20                   Page 16 of 21 PageID 16


alternative, such conduct, action, and inaction were negligent, entitling the Plaintiff to recover under

15 U.S.C. § 1681o.

       92.     The Plaintiff is entitled to recover costs and attorney's fees from Trans Union in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681o.

                   COUNT VI – TRANS UNION’S VIOLATION OF THE FCRA
                                    (15 U.S.C. §1681i)

       93.     The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

       94.     Trans Union violated 15 U.S.C. § 1681i on multiple occasions by failing to update

or delete inaccurate information in the Plaintiff’s credit file after receiving actual notice of such

inaccuracies, failing to conduct a lawful reinvestigation, failing to forward all relevant information

to furnisher(s), failing to maintain reasonable procedures with which to filter and verify disputed

information in the Plaintiff’s credit file, and relying upon verification from a source it has reason to

know is unreliable.

       95.     As a result of Trans Union’s conduct, action, and inaction, the Plaintiff suffered

damages, including, but not limited to, denial in attempts to refinance, loss in ability to finance

goods, loss of credit, loss of the ability to purchase and benefit from a credit, and suffering the

mental and emotional pain, anguish, humiliation, and embarrassment of credit denials.

       96.     Trans Union’s conduct, action, and inaction, were willful, rendering it liable for

actual or statutory damages, and punitive damages in an amount to be determined by the Court

pursuant to 15 U.S.C. § 1681n. In the alternative, such conduct, action, and inaction were negligent

entitling the Plaintiff to recover actual damages under 15 U.S.C. § 1681o.

       97.     The Plaintiff is entitled to recover costs and attorney's fees from Trans Union in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or 1681o.
                                            Page 16 of 21
    Case 3:20-cv-03496-G Document 1 Filed 11/25/20                    Page 17 of 21 PageID 17


                     COUNT VII – NATIONSTAR’S VIOLATION OF THE FCRA
                                    (15 U.S.C. §1681s-2(b))

        98.      The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

        99.      Defendant Nationstar violated 15 U.S.C. § 1681s-2(b) by failing to conduct

reasonable investigations upon receiving notice of Plaintiff’s dispute(s) from one or more consumer

reporting agencies, and/or failing to appropriately report the results of their investigations, and/or

failing to appropriately modify the information.

        100.     Nationstar further violated 15 U.S.C. § 1681s-2(b) by continuing to report the

Nationstar representation within Plaintiff’s credit file with the CRA Defendants without also

including a notation that this debt was disputed, failing to fully and properly investigate the Plaintiff’s

dispute of the Nationstar representation, failing to accurately respond to the CRA Defendants, failing

to correctly report results of an accurate investigation to every other consumer reporting agency, and

failing to permanently and lawfully correct its own internal records to prevent the re-reporting of the

Nationstar representations to the consumer reporting agencies.

        101.     As a result of Nationstar’s conduct, action, and inaction, the Plaintiff suffered

damages, including, but not limited to, denial in his attempt to refinance, loss in his ability to finance

goods, loss of credit, loss of the ability to purchase and benefit from a credit, and suffering the mental

and emotional pain, anguish, humiliation, and embarrassment of credit denials.

        102.     Nationstar’s conduct, action, and inaction, were willful, rendering it liable for actual

or statutory, and punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C.

§ 1681n. In the alternative, it was negligent entitling the Plaintiff to recover actual damages under

15 U.S.C. § 1681o.


                                              Page 17 of 21
    Case 3:20-cv-03496-G Document 1 Filed 11/25/20                   Page 18 of 21 PageID 18


                           COUNT VIII – NATIONSTAR’S VIOLATION OF RESPA

       103.     The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

       104.     Under RESPA section 2605(e) and the implementing regulations, a servicer must

conduct a reasonable investigation of the errors identified in the borrower’s notice and make all

appropriate corrections to the account.

       105.     Nationstar has negligently and/or willfully violated section 2605(e) by failing to

conduct a reasonable investigation of the errors brought to its attention by Plaintiff’s request, correct

the account accordingly, and left the account riddled with errors.

       106.     Nationstar further violated § 2605(e) by failing to credit late charges and/or penalties

as required under subsection (2)(A).

       107.     Nationstar’s failure to respond, conduct a reasonable investigation and make the

appropriate corrections to Plaintiff’s account, as well as credit late fees and/or penalties, has

proximately caused Plaintiff’s damages.

       108.     Defendant Nationstar is therefore liable to Plaintiff for statutory and actual damages

as provided in 12 U.S.C. § 2605(f).

       109.     Plaintiff is also entitled to recover reasonable attorney’s fees and costs expended in

this proceeding from Nationstar as provided in 12 U.S.C. § 2605(f).

                 VI. VICARIOUS LIABILITY/RESPONDEAT SUPERIOR

       110.     Plaintiff will demonstrate, after reasonable discovery, that all actions at issue were

taken by employees, agents, servants, or representatives, of any type, for Defendants, the principals,

within the line and scope of such individuals’ (or entities’) express or implied authority, through

employment, agency, or representation, which imputes liability to Defendants for all such actions

                                             Page 18 of 21
    Case 3:20-cv-03496-G Document 1 Filed 11/25/20                  Page 19 of 21 PageID 19


under the doctrine of respondeat superior and/or vicarious liability.

                                          VII. DAMAGES

         111.   Plaintiff respectfully requests that this Honorable Court instruct the jury, as the trier

of fact, that in addition to actual or compensatory damages, punitive or exemplary damages may be

awarded against the Defendants under the provisions of the FCRA and/or states’ laws, including

Texas.

         112.   Plaintiff respectfully requests that this Honorable Court award Plaintiff his litigation

expenses and other costs of litigation and reasonable attorney’s fees incurred in this litigation, in

accordance with the provisions of the FCRA and/or other laws.

         113.   The above and foregoing actions, inactions, and fault of Defendants, as to each and

every claim, have proximately caused a wide variety of damages to Plaintiff.

         114.   Defendants performed perfunctory and essentially useless reinvestigations resulting

in the verification of false reporting about the Plaintiff and have been a substantial factor in causing

credit denials and other damages.

         115.   Plaintiff suffered a variety of damages, including economic and non-economic

damages as prayed for herein.

         116.   Defendants have negligently and/or willfully violated various provisions of the

FCRA and are thereby liable unto Plaintiff.

         117.   Defendants are liable unto Plaintiff for all actual, statutory, exemplary and punitive

damages awarded in this case, as well as other demands and claims asserted herein including, but not

limited to, out-of-pocket expenses, denial in his attempt to refinance his mortgage, credit denials,

costs and time of repairing his credit, pain and suffering, embarrassment, inconvenience, lost

                                              Page 19 of 21
    Case 3:20-cv-03496-G Document 1 Filed 11/25/20                  Page 20 of 21 PageID 20


economic opportunity, loss of incidental time, frustration, emotional distress, mental anguish, fear of

personal and financial safety and security, attorney’s fees, and court costs, and other assessments

proper by law and any and all other applicable federal and state laws, together with legal interest

thereon from date of judicial demand until paid.

WHEREFORE PREMESIS CONSIDERED, Plaintiff prays that this Honorable Court:

         A.     Enter Judgment in favor of Plaintiff and against Defendants Equifax Information

Services, LLC, Experian Information Solutions, Inc., Trans Union LLC and Nationstar Mortgage,

LLC, jointly, severally, and in solido, for all reasonable damages sustained by Plaintiff, including, but

not limited to, actual damages, compensatory damages, out-of-pocket expenses, credit denials, costs

and time of repairing their credit, pain and suffering, embarrassment, inconvenience, lost economic

opportunity, loss of incidental time, frustration, emotional distress, mental anguish, and fear of

personal and financial safety and security for Defendants’ violations of the FCRA, applicable state

law, and common law;

         B.     Find that the appropriate circumstances exist for an award of punitive damages to

Plaintiff;

         C.     Award Plaintiff pre-judgment and post-judgment interest, as allowed by law;

         D.     Order that the CRA Defendants, Equifax Information Services, LLC, Experian

Information Solutions, Inc., Trans Union LLC and Furnisher Defendant, Nationstar Mortgage, LLC,

work in conjunction, cooperatively, and/or individually to reinvestigate and correct the consumer

report(s), credit report(s), data emanations, consumer histories, and credit histories of and concerning

Plaintiff and/or any of Plaintiff’s personal identifiers.


                                               Page 20 of 21
    Case 3:20-cv-03496-G Document 1 Filed 11/25/20                    Page 21 of 21 PageID 21


         E.      Grant such other and further relief, in law or equity, to which Plaintiff might show he

is justly entitled.


 DATE: November 25, 2020                        Respectfully submitted,

                                                  /s/ Matthew P. Forsberg
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                                                  COUNSEL FOR PLAINTIFF



                                            JURY DEMAND

                 Plaintiff hereby demands a trial by jury on all issues so triable.

 DATE: November 25, 2020                          /s/ Matthew P. Forsberg
                                                  Matthew P. Forsberg




                                               Page 21 of 21
